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UN|TED STATES BANKRUPTCY COURT
FOR THE VVESTERN DiSTRlCT OF MICHIGAN

 

lN RE: Case No. i7~02184-swd
Chapter 7
W|LLlAl\/l THURl\/lAN STROUD,
Hon. SCOTT W. DAl_ES
Debtor. U.S. Bankruptcy Judge

 

TRUSTEE'S MOT|ON TO EMPLOY REALTOR

Laura J. Genovich, Trustee, states as follows:

1. 'l`his case vvas filed under Chapter 7 of the Bankruptcy Code on or about April 30,
2017. i_aura J. Genovich is the Chapter 7 Trustee.

2. Among the assets of this estate is a residence located at 75239 - 515t Street,
Decatur, l\/|ichigan (“Property”).

3. The Trustee has arranged With Chip Spranger of Re/l\/lax, a licensed realtor With
all qualifications including the required bond, to market and sell the Property following the entry
of this Court's Order in accordance With the terms and conditions set forth in this l\/lotion and the
attached Affidavit, and subject to entry of an order approving any such sale.

4. The Trustee believes that Chip Spranger is well qualified in matters of this nature
and in the handling of bankruptcy~related sales. The Trustee believes he is competent
experienced and qualified to perform the required duties.

5. To the best of the Trustee's knowledge, Chip Spranger or Re/l\/|ax has no
connection With the Debtor, his creditors, or any other party in interest, or their attorneys or
accountants or any other party, Which Would represent a conflict of the realtor conducting the
sale, Which opinion is verified by the Affidavit of Realtor Which is filed With this Court in
conjunction With this l\/lotion.

6. The proposed realtor shall be paid a 7% commission on the sale of the Property.

7. Service of this l\/lotion, With an opportunity to object, will be made on all of the

creditors of this estate and those parties interested therein.

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WHEREFORE, the Trustee requests that this Court enter an order approving Chip
Spranger as realtor to the Trustee in this case and granting such other and further relief as may

be just and proper.

Dated: January:)§, 2018 By:

 

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